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      IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                 TENNESSEE

 DOUG DALTON                                                                      )
 Plaintiff                                                 )
                                                           )
 v.                                                        )       No.: 1:22-cv-1102-STA-jay

                                                           )
 STATE FARM INSURANCE COMPANY
 Defendant


           MEMORANDUM IN SUPPORT OF MOTION FOR VOLUNTARY NON-SUIT

           I.        INTRODUCTION


           This civil action arises out of arises out of an insurance coverage action.   The Plaintiff

 seeks a voluntary dismissal of this matter without prejudice. Sixth Circuit precedent indicates

 that this matter should non-suited without prejudice.

           II.       FACTS


           On April 17, 2023, Plaintiff consulted with the Defendant via e-mail regarding their

 consent to voluntary nonsuit without prejudice

           On the same day Defendant indicated that it could not consent to same.

           The parties have litigated a motion to compel and have conducted an inspection

 consistent with the Court’s order.

           Defendant refuses to grant a short continuance to accommodate Plaintiff’s employment

 conflicts.       Thus, the Plaintiff will need to non-suit to satisfy his employment commitments.

           III.      ANALYSIS

                  1. State Farm will not sustain any legal prejudice by a voluntary dismissal of this

 lawsuit


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        In Bridgeport Music v. Universal-MCA Music Publishing, 583 F.3d 948, 955 (6th Cir.

 2009), the Sixth Circuit held that a district court must evaluate four factors to determine if a

 defendant will sustain plain legal prejudice from a voluntary dismissal: (1) Defendant’s efforts

 and expense in preparation for trial (2) excess delay and lack of diligence on the part plaintiff in

 prosecuting the action (3) insufficient explanation and (4) Defendant has a motion for summary

 judgment pending. The Defendant having to face a second lawsuit is insufficient to deny

 dismissal. Grover v. Eli Lilly & Co., 33 F.3d 716, 718 (6th Cir. 1994). The Defendant’s effort

 and expense weigh in favor of dismissal without prejudice if the actions and work can be applied

 in the subsequent litigation. Jones v. Western Reserve Transit Authority, 455 Fed. Appx 640, 643

 (6th Cir. 2012). Excessive delay and lack of diligence in prosecuting the action are usually

 shown by the defendant’s filing motions to compel and requests for continuance. Id at 643- 644.

 An explanation is sufficient if it is logically justified. Carnell v. TMNO Healthcare LLC, No. 13-

 1201 (W.D. Tenn. October 3, 2013)

        Applying the foregoing authority, this Court should grant Plaintiff voluntary non-suit to

 re-file this matter. State Farm has not began trial preparation. The discovery cut-off is still

 months away and no trial preparation has been incurred as no Pre-Trial Order has been tendered

 to the Court and no witness or exhibits lists have been filed consistent with Rule 26(a)(3). All

 discovery to date can be recycled into the second case. This Grover factor weighs in favor of

 dismissal without prejudice. Defendants can point to a motion to compel and an order

 compelling inspection and an order to extend the ADR deadline. However, Plaintiff began to

 anticipate that the discovery obligations in this matter would seriously conflict time-wise with

 the discovery obligations in contemporaneously filed cases in state and federal court and thus

 requested a non-suit. Moreover, Defendants insist on Plaintiff submitting to deposition in



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 conflict with his employment commitments when a simple continuance will This Grover factor

 weighs in favor of dismissal without prejudice. The justification for seeking the non-suit is to

 limit the amount of cases so that they can properly be staffed for litigation and to reduce the

 conflict with Plaintiff’s employment.     This constitutes a logical justification for dismissal and

 thus this Grover factor weigh’s in favor of dismissal without prejudice. No summary judgment

 motion has been filed so this Grover factor weighs in favor of dismissal without prejudice.

        IV.     CONCLUSION

        The Court should find that Plaintiff is entitled to leave of Court to voluntarily dismiss this

 action consistent with Sixth Circuit and Western District precedent.


                                                       Respectfully submitted,

                                                       _/s/Drayton D. Berkley
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                                  CERTIFICATE OF SERVICE

             I, the undersigned attorney, do hereby certify that the foregoing document has been
 served upon the following counsel of record or parties pro se in this cause ONLY BY
 ELECTRONIC TRANSMISSION to the following:

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 Attorney for State Farm

 This, the 17th day of April 2023



                                           _/s/Drayton D. Berkley
                                           Drayton D. Berkley




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